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                                United States District Court
                                        EASTERN DISTRICT OF TEXAS
                                           TEXARKANA DIVISION


    UNITED STATES OF AMERICA                            §
                                                        §
    V.                                                  §            CASE NO. 5:10CR1(4)
                                                        §
    MARVIN GAY YOUNG                                    §


                   ORDER ADOPTING MAGISTRATE JUDGE’S REPORT AND
                             FINDING DEFENDANT GUILTY

            On this day, the Court considered the Findings of Fact and Recommendation of United States

    Magistrate Judge Caroline M. Craven regarding Defendants’ plea of guilty to Count 2 of the First

    Superseding Indictment in violation of 21 U.S.C. § 841, possession with intent to distribute more than four

    (4) kilograms of cocaine, a schedule II controlled substance. Having conducted a proceeding in the form

    and manner prescribed by Fed. R. Crim. P. 11, the Magistrate Judge recommends that the Court accept the

    guilty plea of the Defendant. No objections to the Findings of Fact and Recommendation have been filed.

    The Court is of the opinion that the Findings of Fact and Recommendation should be accepted.

.           It is accordingly ORDERED that the Findings of Fact and Recommendation of the United States

    Magistrate Judge, filed November 7, 2011, are hereby ADOPTED.

            It is further ORDERED that, pursuant to Defendant’s plea agreement, the Court finds Defendant

    GUILTY of Count 2 of the First Superseding Indictment in the above-numbered cause.

           SIGNED this 28th day of November, 2011.




                                                            ____________________________________
                                                            DAVID FOLSOM
                                                            UNITED STATES DISTRICT JUDGE
